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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

TAYLOR LINK, Individually and on behalf
of all others similarly situated,

                                Plaintiff,

                v.                                                          Civil Case No.:
                                                                       3:20-cv-00805-DNH-ML
MARSHALL HOTELS & RESORTS, INC.;
MARSHALL PAYROLL SERVICES, LLC;
OASIS OUTSOURCING CONTRACT, INC.

                                Defendants.


 STIPULATION EXTENDING TIME FOR DEFENDANTS MARSHALL HOTELS &
RESORTS, INC. and MARSHALL PAYROLL SERVICES, LLC TO RESPOND TO THE
                            COMPLAINT

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties

in the above referenced action as follows:

       1.       The attorneys for Plaintiff and Defendants Marshall Hotels & Resorts, Inc. (MHR)

and Marshall Payroll Services, LLC (MPS) submit this Stipulation to the Court in response to the

Court’s text order issued September 21, 2020 (DKT. No. 27), which requests “a status report

explaining why Plaintiff does not seek default.”

       2.       Plaintiff does not seek a default against Defendants MHR and MPS because

counsel for Plaintiff agreed to provide those defendants an extension of time to file their responsive

pleading before the time for their answer to the Complaint had expired.

       3.       On September 2, 2020 William M. Hogg, Attorney for Plaintiff and putative Class

Members, granted an extension of three (3) weeks to answer the complaint to Defendants MHR

and MPS. Mr. Hogg communicated this agreement to Eric T. Baginski, Attorney for Defendant

Oasis Outsourcing Contract II, Inc. Mr. Baginski previously informed Mr. Hogg that he did not
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represent MHR and MPS but was making this request on their behalf while those defendants

obtained counsel.

       4.      On September 18, 2020, Clemente J. Parente, Attorney for MHR and MPS called

Mr. Hogg to inform him that Jackson Lewis, PC would be representing MHR and MPS. After

discussing with Mr. Hogg his understanding of the deadline for MHR and MPS to file their

response to the Complaint, Mr. Parente requested that Mr. Hogg agree that MRH and MPS’s

deadline to file a responsive pleading to the Complaint be extended to September 29, 2020. Mr.

Hogg agreed.

       5.      Accordingly, the parties have stipulated and agreed that the time for Defendants

MHR and MPS to file a responsive pleading should be extended through September 29, 2020, and

respectfully request that the Court “so order” this stipulation and enter an order approving that

extension of time.

 Dated: September 24, 2020                         Dated: September 24, 2020

 ATTORNEYS FOR DEFENDANTS                          ATTORNEYS FOR PLAINTIFF TAYLOR
 MARSHALL HOTELS & RESORTS, INC.;                  LINK, Individually and behalf of all others
 MARSHALL PAYROLL SERVICES, LLC;                   similarly situated

 By:     /s/ Clemente J. Parente                   By: /s/ William M. Hogg
        Clemente J. Parente (Bar No. 301897)          William M. Hogg (pro hac vice)
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 SO ORDERED          9/25/2020

 _______________________________________
 Hon. Miroslav Lovric
 U.S. Magistrate Judge
